52 F.3d 22
    SPHERE DRAKE INSURANCE COMPANY, Plaintiff-Appellee,v.P.B.L. ENTERTAINMENT, INC., individually and t/a Archiesand/or P.B.L. Entertainment d/b/a Industry;  50Broadway, Ltd. &amp; Philip Basile,Defendants-Appellants,Paul Shalsinger &amp; Ronald Escobar, Defendants.
    Docket No. 93-7958.
    United States Court of Appeals,Second Circuit.
    April 7, 1995.
    
      Before:  VAN GRAAFEILAND, LEVAL, Circuit Judges, BEER, District Judge.*
      ORDER
      PER CURIAM.
    
    
      1
      In our original decision in this matter, dated July 19, 1994, we relied upon the case of U.S. Underwriters Ins. Co. v. Val-Blue Corp., 200 A.D.2d 449, 608 N.Y.S.2d 810 (1st Dep't 1994) as the most authoritative, then-existing statement of New York law on the insurance coverage issue involved in that case and in the instant one.  Plaintiff thereafter filed a motion for rehearing in this Court, which we stayed pending the results of the appeal of the First Department's decision in Val-Blue.
    
    
      2
      Because the New York Court of Appeals on February 9, 1995 reversed the Appellate Division First Department's holding, see 85 N.Y.2d 821, 623 N.Y.S.2d 834, 647 N.E.2d 1342 (1995), we must of necessity reverse our own.  See Erie R.R. Co. v. Tompkins, 304 U.S. 64, 58 S.Ct. 817, 82 L.Ed. 1188 (1938).  Accordingly, we vacate and withdraw our July 19th decision and in place thereof, we affirm in toto the judgment of the district court under appeal.
    
    
      
        *
         The Honorable Peter Beer, United States District Judge for the Eastern District of Louisiana, sitting by designation
      
    
    